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                                                                          1/29/2019



                      IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF MONTANA

                                 HELENA DIVISION

 JOHN CAMPBELL MCTIERNAN,

                             Plaintiff,           No. CV 18-91-H-SEH

 vs.
                                                  ORDER
 FIRST INTERSTATE BANK,

                             Defendant.

       The Court conducted a hearing on Defendant's Motion to Dismiss

Plaintiffs Amended Complaint 1 at 10:00 a.m. on January 29, 2019. Upon the

record made and for the reasons stated in open court,

       ORDERED:

       I.       Defendant's Motion to Dismiss Plaintiffs Amended Complaint2 is

GRANTED.


       1
           Doc. 11.
       2
           Doc. 11.

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2.      The clerk is directed to close the case.

DATED this~ay of January, 2019.




                                           United States District Court




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